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                         Exhibit C
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           IN THE SUPERIOR COURT OF LOWNDES Co{ñt-f,.Y f * f,ii J: r]p
                       STATE OF GEORGIA

KENNETH JOHNSON and JACQUELYN ú
JOHNSON                       *
                              *
    Plaintiffs,               *                     CIVL ACTION
                              *
V                             *                     FILE NO. 15CV7O6
                              *
BRANDON BELL, et al.,         *
                                             õ
                                             ù
      Defendants.
                                             ú




                                     ORDER

      Having read and considered the State Defendants' Motion to Dismiss along

with its supporting briefs and having read and considered Plaintiffs' responses, the

State Defendants' Motion to Dismiss is hereby GRANTED and Defendants

Vernon Keenan, Rodney Bryan, Amy Braswell, Steve Turner, Dr. Maryanne

Gaffney-Kraft, Mike Callahan, Kristen Perry, V/es Horne, and Lindsay Marchant's

are hereby DIMISSED from the above referencéd action.

         9ol, l(,rÒ /4
                                       J.              , III, Judge
                                      Superior Court of South Georgia
                                      Judicial Circuit

Prepared by:
Ron Boyter
Assistant Attorney General
